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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF MARYLAND

  PETER J. MESSITTE                                                               6500 CHERRYAVOOD LANE
UNITED STATES DISTRICT JUDGE                                                    GREENBELT,MARYLAND 20770
                                                                                        301-344-0632

                                           MEMORANDUM



  TO:            Catherine Stavlas, Clerk of the District Court

  FROM:          Judge Peter J. Messitte

  RE:            In re US Fertility. LLC Data Security Litigation
                 Civil N0.PJM21-CV-299


  DATE:          September ^,2023                ***




  Please re-open this case, which has been administratively closed.

  A copy of this Memorandum should be sent to Counsel of Record.
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                                                              il    /     Is!
                                                                      R J. MESSITTE
                                                       UNITEDSTA FES DISTRICT JUDGE


  cc:     Court File
